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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 PENGCHENG SI,

                        Plaintiff,

                        v.                             Case No. 1:22-cv-2541 (TNM)

 BED BATH & BEYOND
 CORPORATION, et al.,

                        Defendants.


                                     MEMORANDUM ORDER

       In this putative securities class action, one entity has moved to be appointed as Lead

Plaintiff. Because the entity satisfies the requirements of the Private Securities Litigation

Reform Act and is unopposed, the Court will appoint it as Lead Plaintiff. And because its

proposed counsel is adequate, the Court will approve the entity’s choices for co-lead counsel and

liaison counsel.

                                                 I.

       This past summer, Pengcheng Si filed a pro se complaint against Bed Bath & Beyond and

others, alleging securities violations. See generally Compl., ECF No. 1. A few months later, he

amended his complaint with the help of counsel. See Am. Compl., ECF No. 8.

       Next, two movants asked to be appointed as Lead Plaintiff: Allen Gallegly and Bratya

SPRL. Motions to Appoint Lead Plaintiff, ECF Nos. 12, 14. The Court ordered each movant to

respond to the other’s motion. Min. Order. 11/09/2022. In response, Allen Gallegly conceded

that Bratya was more qualified under the PSLRA’s test, leaving the Court with only Bratya’s

motion. Notice of Non-Opposition at 1, ECF No. 18


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                                                 II.

        Under the PSLRA, the Court must “appoint as lead plaintiff the [class member] . . . most

capable of adequately representing the interests of class members.” 15 U.S.C.

§ 78u-4(a)(3)(B)(i). If a class member checks three boxes, the Court must presume that it is the

most adequate plaintiff. First, the class member must have either filed the complaint or moved to

become the lead plaintiff. Id. § 78u-4(a)(3)(B)(iii)(I)(aa). Second, the class member must have

“the largest financial interest” among class members. Id. § 78u-4(a)(3)(B)(iii)(I)(bb). And third,

the class member must meet the Rule 23 requirements. Id. § 78u-4(a)(3)(B)(iii)(I)(cc).

        The Court finds that Bratya meets all three requirements and thus is presumed most

adequate. And since no other party rebuts that presumption, the Court appoints Bratya as Lead

Plaintiff.

        1. Complaint or motion. Bratya satisfies the first presumption requirement because it

moved to be appointed as Lead Plaintiff. See Motion to Appoint Lead Plaintiff, ECF No. 14.

        2. Largest financial interest. To the best of Bratya’s knowledge, and the Court’s, Bratya

has the largest financial interest in this case of any class member:

        During the Class Period, Bratya: (1) purchased 227,311 shares of Bed Bath stock;
        (2) expended $10,726,059 on its purchases of Bed Bath stock and options
        contracts; (3) retained 150,000 shares of Bed Bath stock and 1,131 open options
        contracts; and (4) as a result of the disclosures of the fraud, suffered losses of
        $4,350,426 in connection with its Class Period transactions in Bed Bath stock and
        options contracts.

Mot. to Appoint at 7 (citing Decl. of Jeremy A. Lieberman, Ex. A, ECF No. 14-4). And no class

members dispute this. Indeed, the only other movant dropped out of contention after reviewing

Bratya’s motion, conceding “it appears that Mr. Gallegly does not possess the largest financial

interest in the relief sought by the class.” Notice of Non-Opposition at 1.




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       3. Rule 23 Requirements. Here, courts look to only typicality and adequacy. Shenk v.

Mallinckrodt PLC, 300 F. Supp. 3d 279, 281 (D.D.C. 2018). For purposes of appointing a lead

plaintiff, the Court finds both requirements met.

       Start with typicality. Bratya satisfies this requirement if its “claims or defenses . . . are

typical” of the class’s. Fed. R. Civ. P. 23(a)(3). Bratya’s core claim is the same as the rest of the

class: “Defendants violated the Exchange Act by making what they knew or should have known

were false or misleading statements of material facts and/or by omitting to disclose material facts

concerning Bed Bath.” Mot. to Appoint at 7. And, like the rest of the class, Bratya says that

violation cost it money by inflating the stock price. Id. So Bratya’s claims are “reasonably

coextensive with the class as a whole,” and Bratya satisfies the typicality requirement. Shenk,

300 F. Supp. 3d at 282.

       Next, adequacy. Bratya and its proposed counsel are adequate if they “will fairly and

adequately protect” the class’s interests. Fed. R. Civ. P. 24(a)(4). Thus, they must have the

“ability and incentive to represent . . . the class vigorously,” and no conflicts of interest with

class members. Shenk, 300 F. Supp. 3d at 282.

       Bratya has a strong incentive to energetically represent the class because of its significant

alleged losses. More, Bratya’s gérant certifies that he understands a lead plaintiff’s duties and is

prepared to undertake them. Declaration of David Coti at 2, ECF No. 14-7. And he further

commits to working with counsel “to obtain the greatest possible recovery for the class.” Id. at

3. Finally, Bratya has no apparent conflict of interest with other class members. So Bratya is

adequate.

       Bratya’s counsel of choice is adequate too. As the most adequate plaintiff, Bratya may

choose its counsel “subject to [the Court’s] approval.” 15 U.S.C. § 78u-4(a)(3)(B)(v). Here,



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Bratya proposes Pomerantz LLP and Bronstein, Gewirtz & Grossman, LLC as co-lead counsel.

And it wants Cohen Milstein Sellers & Toll PLLC as liaison counsel. All three firms have

extensive experience litigating securities class actions and no apparent conflicts of interest. See

generally Pomerantz Resume, ECF No. 14-8; Bronstein, Gewirtz & Grossman Resume, ECF No.

14-9; Cohen Milstein Sellers & Toll Resume, ECF No. 14-10. Thus, the Court finds that each is

adequate and will permit them to serve their proposed roles.

                                                  III.

          For these reasons, it is hereby

          ORDERED that Bratya SPRL is appointed as Lead Plaintiff for the putative class; it is

further

          ORDERED that Pomerantz LLP and Bronstein, Gewirtz & Grossman, LLC are

approved as Co-Lead Counsel and that Cohen Milstein Sellers & Toll PLLC may serve as liaison

counsel;

          ORDERED that Co-Lead Counsel shall have the following responsibilities and duties, to

be carried out either personally or through counsel whom co-lead counsel shall designate:

          (a)    to coordinate the briefing and argument of motions;
          (b)    to coordinate the conduct of discovery proceedings;
          (c)    to coordinate the examination of witnesses in depositions;
          (d)    to coordinate the selection of counsel to act as a spokesperson at pretrial
                 conferences;
          (e)    to call meetings of the plaintiffs’ counsel as they deem necessary and appropriate
                 from time to time;
          (f)    to coordinate all settlement negotiations with counsel for defendants;
          (g)    to coordinate and direct the pretrial discovery proceedings and the preparation for
                 trial and the trial of this matter and to delegate work responsibilities to selected
                 counsel as may be required; and

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       (h)     to supervise any other matters concerning the prosecution, resolution, or
               settlement of the Action;
       ORDERED that no motion, request for discovery, or other pretrial proceedings shall be

initiated or filed by any plaintiffs without the approval of Co-Lead Counsel, so as to prevent

duplicative pleadings or discovery by plaintiffs. No settlement negotiations shall be conducted

without the approval of Lead Counsel;

       ORDERED that every pleading in this Action, and any related action that is consolidated

with this Action, shall hereafter bear the following caption:

                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLUMBIA


IN RE BED BATH & BEYOND                                 Case No. 1:22-cv-02541-TNM
CORPORATION SECURITIES LITIGATION
                                                        CLASS ACTION
THIS DOCUMENT RELATES TO:
                                                        [TITLE OF DOCUMENT]

       ORDERED that when the document being filed pertains to all actions, the phrase “All

Actions” shall appear immediately after the phrase “This Document Relates To:”. When the

document applies to some, but not all, of the actions, the document shall list, immediately after

the phrase “This Document Relates To:”, the docket number for each individual action to which

the document applies, along with the name of the first-listed plaintiff in said action;

       ORDERED that counsel in any related action that is consolidated with this Action shall

be bound by this organization of plaintiffs’ counsel;

       ORDERED that Co-Lead Counsel shall have the responsibility of receiving and

disseminating Court orders and notices;

       ORDERED that Co-Lead Counsel shall be the contact between plaintiffs’ counsel, and

shall direct and coordinate the activities of plaintiffs’ counsel;


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       ORDERED that Defendants shall effect service of papers on plaintiffs by serving a copy

of same on Co-Lead Counsel by overnight mail service, electronic or hand delivery. Plaintiffs

shall effect service of papers on defendants by serving a copy of same on defendants’ counsel by

overnight mail service, electronic or hand delivery;

       ORDERED that during the pendency of this litigation, or until further order of this

Court, the parties shall take reasonable steps to preserve all documents within their possession,

custody, or control, including computer-generated and stored information, and materials such as

computerized data and electronic mail, containing information which is relevant or which may

lead to the discovery of information relevant to the subject matter of the pending litigation;

       SO ORDERED.
                                                                                2022.11.16
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Dated: November 16, 2022                               TREVOR N. McFADDEN, U.S.D.J.




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